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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

AMERICAN COLLEGE OF EMERGENCY)
PHYSICIANS, INDIVIDUALLY AND   )
ON BEHALF OF ITS MEMBERS, and  )
THE MEDICAL ASSOCIATION OF     )
GEORGIA,                       )
                               )
                Plaintiffs,    ) Civil Action No. 1:18-CV-03414
                               )
vs.                            ) The Honorable Michael L. Brown
                               )
BLUE CROSS BLUE SHIELD OF      )
GEORGIA, INC., BLUE CROSS BLUE )
SHIELD HEALTHCARE PLAN OF      )
GEORGIA, INC., and ANTHEM      )
INSURANCE COMPANIES, INC.,     )
                               )
                Defendants.    )

                      DEFENDANTS’ MOTION TO DISMISS
                   PLAINTIFFS’ FIRST AMENDED COMPLAINT

           In accordance with the Federal Rules of Civil Procedure 12(b)(1) and

12(b)(6), and for the reasons set forth in their Brief in Support filed

contemporaneously herewith, Defendants Blue Cross Blue Shield of Georgia, Inc.

(“BCBSGA”), Blue Cross Blue Shield Healthcare Plan of Georgia, (together with

BCBSGA, “BCBS Georgia”), and the Anthem Insurance Companies, Inc.

(collectively with BCBS Georgia, “Defendants”), move to dismiss the First

Amended and Restated Complaint, Demand for Trial by Jury, and Demand for


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Equitable, Declaratory and Injunctive Relief (“FAC”) filed by Plaintiffs, the

American College of Emergency Physicians, individually and on behalf of its

members (“ACEP”) and the Medical Association of Georgia (“MAG,” and

collectively with ACEP, “Plaintiffs”) for lack of standing and failure to state a

claim upon which relief can be granted.

           Respectfully submitted this 2nd day of November, 2018.

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                             CERTIFICATE OF SERVICE
           I hereby certify that on this the 2nd day of November, 2018 I electronically

filed the foregoing with the Clerk of the Court using the CM/ECF system which

will automatically send an e-mail notification of such filing to the following

attorneys of record:

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                                          /s/James L. Hollis
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